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                       EXHIBIT F
        Case 1:23-mi-99999-UNA Document 2545-6 Filed 08/09/23 Page 2 of 8


From:              Kevin Tallant
To:                Alex Kaufman
Cc:                khilbert@hilbertlaw.com; Juan Patino; Jim Hicks; Audrey Lynn
Subject:           Cumming.Blount ORR Response
Date:              Wednesday, April 12, 2023 6:11:20 PM



Alex,

Included with this email is a link to the City of Cumming's Open Records Response related to
letter you sent on behalf of your client, Blount. After reviewing the City's production to me, I
followed up and as a result, expect to receive additional documents tomorrow. Nevertheless,
as you have been patient I wanted to provide you now what I have.

Pursuant to O.C.G.A. 50-18-72 I am notifying you that the City has records that are exempt
from production under the open records act. The applicable exemptions are in subsections (a)
(41) (attorney client privilege); (a)(42) (work product); and (a)(34) (trade secret identified as
such by the party providing information).  

Here is the link: I will hopefully add additional materials tomorrow.

https://us.workplace.datto.com/1/filelink/btbpy-dtadgai-6l26tvya

KT


Kevin J. Tallant




Not just a law firm . . . a solution.
202 Tribble Gap Road |Suite 200 |Cumming, Georgia 30040
Phone: 770-781-4100 | Fax: 770-781-9191
ktallant@mhtlegal.com | www mhtlegal.com
            Case 1:23-mi-99999-UNA Document 2545-6 Filed 08/09/23 Page 3 of 8


From:                Kevin Tallant
To:                  Juan Patino; Alex Kaufman
Cc:                  W. Jason Pettus; Michael DeLeva; Kenya Patrick; Eva Wells; khilbert@hilbertlaw.com; Jim Hicks
Subject:             RE: Blount/City of Cumming Matter
Date:                Thursday, May 18, 2023 8:34:17 AM
Attachments:         image003.png


The additional materials are in a new folder in the previous share location. For your convenience, here is the link:

CoC Response Materials




Kevin J. Tallant




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202 Tribble Gap Road |Suite 200 |Cumming, Georgia 30040
Phone: 770-781-4100 | Fax: 770-781-9191
ktallant@mhtlegal com | www mhtlegal com


From: Juan Patino <jpatino@chalmersadams.com>
Sent: Monday, May 15, 2023 12:35 PM
To: Kevin Tallant <ktallant@mhtlegal.com>; Alex Kaufman <akaufman@chalmersadams.com>
Cc: W. Jason Pettus <Jason.Pettus@mgclaw.com>; Michael DeLeva <Michael.DeLeva@mgclaw.com>; Kenya Patrick
<Kenya.Patrick@mgclaw.com>; Eva Wells <Eva.Wells@mgclaw.com>; khilbert@hilbertlaw.com; Jim Hicks <jhicks@chalmersadams.com>
Subject: RE: Blount/City of Cumming Matter

Kevin,

We’ve reviewed the documents that were provided. However, I did not see anything related to warnings received by the City of Cumming/its
employees or the service history on the Water Towers. When will those documents be provided? If they have already been provided, can you
point out where they was saved?

Separately, I understand that some documents were withheld on the basis of privileged. Please provide a privilege log for said documents.

Thanks,

Juan

Juan S. Patino, Esq.
Associate




11770 Haynes Bridge Road #205-219
Alpharetta, GA 30009-1968
Phone: (404) 492-3394
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From: Kevin Tallant <ktallant@mhtlegal.com>
Sent: Monday, May 8, 2023 4:55 PM
To: Juan Patino <jpatino@chalmersadams.com>; Alex Kaufman <akaufman@chalmersadams.com>
Cc: W. Jason Pettus <Jason.Pettus@mgclaw.com>; Michael DeLeva <Michael.DeLeva@mgclaw.com>; Kenya Patrick
<Kenya.Patrick@mgclaw.com>; Eva Wells <Eva.Wells@mgclaw.com>; khilbert@hilbertlaw.com; Jim Hicks <jhicks@chalmersadams.com>
            Case 1:23-mi-99999-UNA Document 2545-6 Filed 08/09/23 Page 4 of 8


Subject: RE: Blount/City of Cumming Matter

My apologies.

I believe it is 1234

If that does not work I’ll resend without a PW.


Kevin J. Tallant




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202 Tribble Gap Road |Suite 200 |Cumming, Georgia 30040
Phone: 770-781-4100 | Fax: 770-781-9191
ktallant@mhtlegal com | www mhtlegal com


From: Juan Patino <jpatino@chalmersadams.com>
Sent: Monday, May 8, 2023 4:51 PM
To: Kevin Tallant <ktallant@mhtlegal.com>; Alex Kaufman <akaufman@chalmersadams.com>
Cc: W. Jason Pettus <Jason.Pettus@mgclaw.com>; Michael DeLeva <Michael.DeLeva@mgclaw.com>; Kenya Patrick
<Kenya.Patrick@mgclaw.com>; Eva Wells <Eva.Wells@mgclaw.com>; khilbert@hilbertlaw.com; Jim Hicks <jhicks@chalmersadams.com>
Subject: RE: Blount/City of Cumming Matter

Hi Kevin,

The PST file is password protected.

Please sent the password to unlock the PST file.

Thanks,

Juan

Juan S. Patino, Esq.
Associate




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Email: jpatino@chalmersadams.com
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From: Kevin Tallant <ktallant@mhtlegal.com>
Sent: Wednesday, May 3, 2023 5:10 PM
To: Juan Patino <jpatino@chalmersadams.com>; Alex Kaufman <akaufman@chalmersadams.com>
Cc: W. Jason Pettus <Jason.Pettus@mgclaw.com>; Michael DeLeva <Michael.DeLeva@mgclaw.com>; Kenya Patrick
<Kenya.Patrick@mgclaw.com>; Eva Wells <Eva.Wells@mgclaw.com>; khilbert@hilbertlaw.com; Jim Hicks <jhicks@chalmersadams.com>
Subject: RE: Blount/City of Cumming Matter

This is the same link I sent previously. However, now there is a PST file in it that contains the email communications that were not present in the
prior production.

https://us.workplace.datto.com/1/filelink/btbpy-dtadgai-6l26tvya
            Case 1:23-mi-99999-UNA Document 2545-6 Filed 08/09/23 Page 5 of 8



Kevin J. Tallant




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Phone: 770-781-4100 | Fax: 770-781-9191
ktallant@mhtlegal com | www mhtlegal com


From: Juan Patino <jpatino@chalmersadams.com>
Sent: Tuesday, May 2, 2023 1:50 PM
To: Kevin Tallant <ktallant@mhtlegal.com>; Alex Kaufman <akaufman@chalmersadams.com>
Cc: W. Jason Pettus <Jason.Pettus@mgclaw.com>; Michael DeLeva <Michael.DeLeva@mgclaw.com>; Kenya Patrick
<Kenya.Patrick@mgclaw.com>; Eva Wells <Eva.Wells@mgclaw.com>; khilbert@hilbertlaw.com; Jim Hicks <jhicks@chalmersadams.com>
Subject: RE: Blount/City of Cumming Matter

Good afternoon Kevin,

Have the IT issues been resolved?

Do you have a production date for the remaining documents?

-Juan

Juan S. Patino, Esq.
Associate




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Email: jpatino@chalmersadams.com
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From: Kevin Tallant <ktallant@mhtlegal.com>
Sent: Wednesday, April 19, 2023 4:57 AM
To: Alex Kaufman <akaufman@chalmersadams.com>
Cc: W. Jason Pettus <Jason.Pettus@mgclaw.com>; Michael DeLeva <Michael.DeLeva@mgclaw.com>; Kenya Patrick
<Kenya.Patrick@mgclaw.com>; Eva Wells <Eva.Wells@mgclaw.com>; khilbert@hilbertlaw.com; Juan Patino <jpatino@chalmersadams.com>;
Jim Hicks <jhicks@chalmersadams.com>
Subject: Re: Blount/City of Cumming Matter

Alex, good morning.  

I'm trusting you got my out of office about my trial. I'm working on this as I can find time. In short, I'm not sure exactly how my client's
IT department utilized the search terms, but I think they may have been overbroad as what I'm reviewing has materials that are just not
even responsive.

I am working on this, however.

KT

From: Alex Kaufman <akaufman@chalmersadams.com>
              Case 1:23-mi-99999-UNA Document 2545-6 Filed 08/09/23 Page 6 of 8


Sent: Monday, April 17, 2023 4:17 PM
To: Kevin Tallant <ktallant@mhtlegal.com>
Cc: W. Jason Pettus <Jason.Pettus@mgclaw.com>; Michael DeLeva <Michael.DeLeva@mgclaw.com>; Kenya Patrick
<Kenya.Patrick@mgclaw.com>; Eva Wells <Eva.Wells@mgclaw.com>; khilbert@hilbertlaw.com <khilbert@hilbertlaw.com>; Juan Patino
<jpatino@chalmersadams.com>; Jim Hicks <jhicks@chalmersadams.com>
Subject: Re: Blount/City of Cumming Matter

Kevin-

I’m following up on the additional production eta. Additionally, since you said you withheld documents, can you please provide a privilege log?

Thanks


Alex B. Kaufman, Esq.
Member




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         On Apr 13, 2023, at 5:37 PM, Kevin Tallant <ktallant@mhtlegal.com> wrote:


         Alex,

         We can be pretty flexible in terms of access. If you can just give me a heads up about the day/time I'll get something
         coordinated.  

         On the Open Records response -- I received additional materials today in the form of Outlook Data Files. However, when I
         try to open them there are no emails, etc., visible in the files. However, I'm confident this is a computer issue because I
         can see from the size of the files (and a report the City's IT professional gave me) that there are materials to review.
         Obviously I can't just turn them over to you because I know for certain some of the same Attorney Client Privilege/Work
         Product emails are in this production from the IT Professional.

         I have put in a help ticket both for my firm's IT professional and I've reached out to the City's IT professional as well. As
         soon as I have a resolution and can review these materials I will get them to you.

         KT

         From: Alex Kaufman <akaufman@chalmersadams.com>
  Case 1:23-mi-99999-UNA Document 2545-6 Filed 08/09/23 Page 7 of 8


Sent: Thursday, April 13, 2023 4:56 PM
To: W. Jason Pettus <Jason.Pettus@mgclaw.com>
Cc: Michael DeLeva <Michael.DeLeva@mgclaw.com>; Kevin Tallant <ktallant@mhtlegal.com>; Kenya Patrick
<Kenya.Patrick@mgclaw.com>; Eva Wells <Eva.Wells@mgclaw.com>; khilbert@hilbertlaw.com <khilbert@hilbertlaw.com>; Juan
Patino <jpatino@chalmersadams.com>; Jim Hicks <jhicks@chalmersadams.com>
Subject: Re: Blount/City of Cumming Matter

Jason-

I understand and look forward to working with you.

It appears from the city’s expert report that they somehow obtained access to the Blount property. Are you all able to confirm that
this occurred? Also, please give me a reasonable timeline if you do with to have the property inspected as every day that goes by
we are unable to use the plant and it is causing substantial damages.

Additionally, if you and Mr. Tallant can please give us a time in the next 10 days or so that our experts can inspect the City’s
property it would be appreciated as we are preparing our anti liter notice and wish to have this information and findings included.

Thank you,

Alex


Alex B. Kaufman, Esq.
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         On Apr 13, 2023, at 4:12 PM, W. Jason Pettus <Jason.Pettus@mgclaw.com> wrote:



         Alex,

         We have just been retained by the City’s insurer, Selective, to represent the City of Cumming with respect to alleged
         property damage incurred by your client, Blount. We look forward to working with all counsel on this matter.  

         I spoke with Kevin Tallant, and I am sending this email in lieu of the one you requested from him regarding scheduling
         an inspection. I understand that Blount would like to moved forward with repairs.   However, as we have just been
         retained, we do need time to review the file, speak with our client, and consult with potential experts before
         committing to a scheduling plan for an inspection of the Blount property.
         Case 1:23-mi-99999-UNA Document 2545-6 Filed 08/09/23 Page 8 of 8


             Thank you for your patience. We will be in touch with you in the coming days. Please let me know If there is anything
             you need or want to discuss in the meantime.   Have a good evening.     




                                                    W. Jason Pettus, Attorney
                                                    jason.pettus@mgclaw.com
                   <1.png>                          270 Peachtree Street NW, Ste 1800
                                                    Atlanta, GA 30303
                                                    Main:678-500-7300 | Direct:678-510-1687 | Fax:678-669-3546
                                                    VCARD



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